  Case 3:08-cr-00133-CRS Document 72 Filed 12/17/08 Page 1 of 4 PageID #: 129




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE



UNITED STATES OF AMERICA                                                               PLAINTIFF

VS.                                                                          NO. 3:08CR-133-05-C

THOMAS DARRELL BRYANT                                                                DEFENDANT


                                            ORDER

       The above-styled case was called in open Court on December 16, 2008, for the purpose of

initial appearance and arraignment. The United States was represented by David Weiser, Assistant

United States Attorney. The proceedings were digitally recorded. The defendant, Thomas Darrell

Bryant, appeared in person with Gregory Campbell, retained counsel. As to the matter of arraignment

the defendant, through counsel, acknowledged his identity, acknowledged having been furnished a

copy of the indictment and advised of the charge contained therein.

       The defendant, through counsel, waived formal reading of the indictment and entered pleas

of not guilty to the charges contained in the Indictment. The Court further enters this general order

of discovery and pretrial procedures for criminal actions.

               IT IS THEREFORE ORDERED as follows:

       1. Assignment of trial date. This matter is assigned for trial by jury on January 20, 2009, at

10:00 a.m. Counsel shall be present in the courtroom at 9:30 a.m.

       2. Defensive Motions.

               (a) Generally. Defensive motions (except motions for discovery under paragraph 3

infra) shall be filed within thirty (30) days after arraignment, accompanied by a memorandum of

authorities, with an extra copy of such memorandum being filed for the convenience of the Court.
  Case 3:08-cr-00133-CRS Document 72 Filed 12/17/08 Page 2 of 4 PageID #: 130




Responses and replies will be governed by the Joint Local Rules of the Eastern and Western Districts

of Kentucky, and shall be accompanied by a memorandum of authorities. An extra copy shall also

be filed for the convenience of the Court.

       All memoranda on motions shall be in conformity with LCrR 12.1 of the Joint Local Rules

for the United States District Courts of the Eastern and Western Districts of Kentucky. Hearings on

motions requiring evidentiary hearings will be set at a mutually convenient time. Counsel shall

confer and have all necessary witnesses present and ready to testify at motion hearings.

               (b) Motions to Suppress. Paragraph 3(a) of this Order shall apply to motions to

suppress evidence, except that the opposing memorandum of the United States with regard to such

motions shall be filed no later than five (5) days prior to the date of the suppression hearing before

the Magistrate Judge.

       3. Pretrial discovery and inspection.

               (a)      The Government. Unless the parties agree otherwise, within ten (10) days after

arraignment, the United States Attorney and defense counsel shall confer and, upon request, the

United States shall permit the defendant(s) to inspect and copy or photograph:

                       (1) Any relevant written or recorded statements or confessions made by the
defendant, or copies thereof, within the possession, custody or control of the government, the
existence of which is known, or by the exercise of due diligence may become known, to the attorney
for the government.

                       (2) Any relevant results or reports of physical or mental examinations, and of
scientific tests or experiments made in connection with the case, or copies thereof, within the
possession, custody or control of the government, the existence of which is known, or by the exercise
of due diligence may become known, to the attorney for the government.

                        (3) Any relevant recorded testimony of the defendant before a grand jury.

                     (4) Books, papers, documents, tangible objects, buildings or places which are
the property of the defendant and which are within the possession, custody or control of the
government.

                       (5) The Federal Bureau of Investigation Identification Sheet indicating
defendant's prior criminal record.
  Case 3:08-cr-00133-CRS Document 72 Filed 12/17/08 Page 3 of 4 PageID #: 131




                       (6) Any evidence favorable to the defendant.

               (b) The Defendant. Unless the parties agree otherwise, within ten (10) days after the

arraignment, the United States Attorney and defense counsel shall confer and, upon request, the

defendant shall produce all items discoverable pursuant to Rule 16(b) of the Federal Rules of

Criminal Procedure.

               (c) Declined Disclosure. If, in the judgment of the United States Attorney, it would

not be in the interests of justice to make any one or more disclosures set forth in paragraph (a) above

and requested by defense counsel, disclosure may be declined. A declination of any requested

disclosure shall be in writing, directed to defense counsel, and signed personally by the United States

Attorney, and shall specify the types of disclosure that are declined. If the defendant seeks to

challenge the declination, he/she shall proceed pursuant to Subsection (d) below.

               (d) Additional discovery or inspection. If additional discovery or inspection is sought,

defendant's attorney shall confer with the appropriate Assistant United States Attorney with a view

to satisfying these requests in a cooperative atmosphere without recourse to the Court. The request

may be oral or written and the United States Attorney shall respond in like manner.

                       (1) Jencks Act material. Jencks Act material pursuant to 18 U.S.C. 3500
                       is not required to be furnished to the defendant by the United States
                       prior to trial.

                       (2) Brady material. The government shall disclose any Brady material of
                             which it has knowledge in the following manner:

                               (a) pretrial disclosure of any Brady material discoverable under
                               Rule 16 (a)(1);

                               (b) disclosure of all other Brady material in time for effective use
                               at trial.

                               If the government has knowledge of Brady rule evidence and is
                               unsure as to the nature of the evidence and the proper time for
                               disclosure, then it may request an in camera hearing for the purpose
  Case 3:08-cr-00133-CRS Document 72 Filed 12/17/08 Page 4 of 4 PageID #: 132




                       of resolving this issue; failure to disclose Brady material at the time
                       when it can be effectively used at trial, may result in a recess or
                       a continuance so that the defendant may properly utilize such
                       evidence.

               (3) Rule 404(b) evidence. Upon service of a request from the defendant
               for notice of Rule 404(b) evidence of other crimes, wrongs, or acts,
               the United States shall provide reasonable notice in advance or trial
               of the general nature of any such evidence it intends to introduce
               at trial unless the Court excuses pretrial notice upon motion by the
               United States showing good cause.

        4. Jury Instructions. Within three (3) working days prior to the date set for trial, the parties

shall submit to the Court, but need not file in the record, proposed jury instructions on the substantive

law of the case. All proposed instructions shall cite supporting authorities. Whenever

applicable, the parties shall follow Sixth, Fifth or Eleventh Circuit pattern jury instructions.

        IT IS FURTHER ORDERED that the defendant shall be released on his own recognize.




                                               ENTERED BY ORDER OF THE COURT:
                                               DAVE WHALIN
Date: December 17, 2008                        UNITED STATES MAGISTRATE JUDGE
                                                JEFFREY A. APPERSON, CLERK
                                                 by:
                                                     Deputy Clerk
Copies to:
United States Attorney
United States Marshal
Chief U.S. Probation Officer
Counsel for Defendant



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